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                                 UNITED STATES DISTRICT COURT
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                                      N EW Y ORK , N EW Y ORK 10007




RUBY J. KRAJICK
CLERK OF COURT




                                                May 19, 2023


   BY ECF AND OVERNIGHT MAIL


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         Case 1:15-cv-05236-LTS Document 980 Filed 05/19/23 Page 2 of 4




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                      Re: Noel et al v. City Of New York, 15-cv-5236 (LTS)
                      Notice Concerning Waiver of Judicial Disqualification

Dear Counsel,
       I have been contacted by Chief Judge Swain, U.S.D.J., who has presided over the above-
named case since it was filed on July 7, 2015. Chief Judge Swain informed me that it has been
brought to her attention that one of her close family members has entered the City of New York’s
affordable housing lottery program (the “Lottery”). Because at least one of this family member’s
applications is for a property in a Community District (“CD”) in which both the family member’s
address and the housing project are located, the family member will benefit from the City’s
community preference policy (“CP Policy”).
         Since this circumstance only came to Chief Judge Swain’s attention on May 14, 2023, it
neither affected nor impacted her prior decisions in this case. Nor does Chief Judge Swain
anticipate that the circumstance will affect or impact her future decisions in this case. However,
this circumstance may be grounds for recusal under the Code of Conduct for United States Judges.
Therefore, Chief Judge Swain directed that I notify the parties of the potential conflict.
         Canon 3D of the Code of Conduct provides (with exceptions not pertinent to this case) that
when a judge is disqualified in a proceeding because “the judge's impartiality might reasonably be
questioned,” the judge may participate in the proceeding only if all the parties and lawyers, after
notice of the basis for the disqualification, have an opportunity to confer outside of the presence
of the judge and all agree in writing or on the record to waive the disqualification under a procedure
independent of the judge's participation.
         Unless a waiver is obtained from all parties and all counsel, Chief Judge Swain intends to
disqualify in this proceeding because of these circumstances. If you and your client(s) wish to
waive the judge's disqualification, a letter to that effect from you and from your client(s) must be
sent to Ruby J. Krajick, Clerk of Court, within ten (10) days of the date of this Notice. A sample
letter is enclosed. The letter should be signed and submitted by the attorney of record only after
consultation with all of his or her clients in the above-styled and numbered cause.
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    THE LETTERS SHOULD NOT BE SENT TO THE JUDGE AND COPIES
SHOULD NOT BE SENT TO OTHER COUNSEL. DO NOT E-FILE YOUR LETTER(S).
SUBMIT LETTERS DIRECTLY TO THE CLERK OF COURT.
        If all parties submit such letters, this Notice and all responses will be made part of the
record, as required by Canon 3D, and the judge will continue participation in the proceeding. If
waivers are not received on behalf of all parties and their respective counsel, this Notice and any
responses will be kept under seal by the Clerk and not shown to the judge, nor will the judge be
informed of the identity of any party or lawyer who declined to waive the disqualification. If the
disqualification is not waived, the case will be reassigned to another judge.


                                              Signed,




                                              Ruby J. Krajick
                                              Clerk of Court

cc: Hon. Laura Taylor Swain, Chief U.S.D.J.
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                           SAMPLE Waiver of Disqualification Letter


                     NOTICE TO ATTORNEYS: DO NOT E-FILE THIS FORM
                       SUBMIT DIRECTLY TO THE CLERK OF COURT

From: [Insert Name and Address of Attorney]

To:     Ruby J. Krajick
        Clerk of Court
        United States District Court
        Southern District of New York
        Daniel Patrick Moynihan Courthouse
        500 Pearl Street
        New York, NY 10007

Date: [Insert date]

Re:     Noel et al v. City Of New York, 1:15-cv-5236 (LTS)


Dear Ms. Krajick:
        I have consulted with my client(s), [Insert client name(s)] which are all of the clients that
I represent in the above-styled and numbered cause, concerning the Clerk’s Notice that Chief Judge
Swain intends to disqualify herself from this case because her impartiality might reasonably be
questioned.

        My client(s) and I hereby waive this disqualification. We are willing to proceed forward
with Chief Judge Swain presiding.

        Pursuant to Canon 3D of the Code of Conduct, I am submitting this letter to the Clerk of
Court, but I am not copying Chief Judge Swain, nor am I copying the other counsel of record or
the other parties.

                                                           Yours truly,


                                                           ________________________________
                                                                          Signature
                                                           [Insert attorney’s name]
                                                           Attorney of Record, on behalf of
                                                           [Insert client name(s)]
